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                               UNITED STATES DISTRICT COURT
                  FOR THE CENTRAL DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA

                  Plaintiff,

                                                             4:17-CV-40011-TSH
v.

DAVID L. TOPPIN, JENNIFER TOPPIN,
DEUTSCHE BANK NATIONAL TRUST
COMPANY as Trustee for RESIDENTIAL
ASSET SECURITIZATION TRUST Series
2013-A14, MORTGAGE-PASS-THROUGH
CERTIFICATES Series 2003-N, UPS
CAPITAL BUSINESS CREDIT f/k/a FIRST
INTERNATIONAL BANK,
COMMONWEALTH OF
MASSACHUSETTS, TOWN OF HOLDEN,
TOWN OF AMHERST, and TOWN OF
GARDNER

                  Defendants.



                      NOTICE OF WITHDRAWAL OF APPEARANCE

       To the Clerk of the Court Please withdraw my appearance in this case as counsel for
defendant, Jennifer Toppin.

Date: July 26, 2018                         /s/Eric J. Rietveld
                                            Eric J. Rietveld, Esq.
                                            BBO# 685105
                                            McMahon & Associates, PC
                                            1 Financial Center, 15th Floor
                                            Boston, MA 02111
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                         Certificate of Service

       I CERTIFY that service of the foregoing Notice of Appearance has
been made on all counsel of record on July 26, 2018 by ECF. I have mailed
a copy of the same to the following non-registered CM/ECF party via First
Class United States Mail:

David L. Toppin
465 Salisbury Street
Holden, MA 01520



                                        /s/Eric J. Rietveld
                                        Eric J. Rietveld, Esq.
                                        McMahon and Associates




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